                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TENNESSEE
                            GREENEVILLE DIVISION


                                          )
  IN RE SOUTHEASTERN MILK                 )
  ANTITRUST LITIGATION                    )   Master File No. 2:08-MD-1000
  ____________________________________)
                                          )   Judge J. Ronnie Greer
  THIS DOCUMENT RELATES TO:               )
                                          )
  Sweetwater Valley Farm, Inc., et al. v. )
  Dean Foods, et al., No. 2:07-CV-208     )
  ____________________________________)




                  PLAINTIFFS’ MOTION FOR FINAL APPROVAL
          OF CLASS ACTION SETTLEMENTS WITH DEAN, SMA, AND BAIRD




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         Pursuant to Federal Rule of Civil Procedure 23(e), Plaintiffs respectfully move the Court

  for final approval of the class action settlements with Defendants Dean Foods Co. (“Dean”)

  Southern Marketing Agency, Inc. (“SMA”) and James Baird (“Baird”) (collectively

  “Settlements”).

         After four years of hard-fought litigation and extensive negotiations, Plaintiffs reached

  the Settlements on the eve of trial scheduled for July 2011. Finding the Settlements “sufficiently

  fair, reasonable and adequate,” the Court preliminarily approved the SMA/Baird Settlement on

  July 28, 2011, and the Dean Settlement originally on July 14, 2011 and then again on February

  14, 2012 following appointment of separate counsel for the DFA sub-class. The Settlements

  remain fair, reasonable and adequate and should be given final approval because, as shown

  below, they satisfy each of the Sixth Circuit’s approval factors.

         Following the Court’s preliminary approval of the Settlements, Plaintiffs caused notice of

  the Settlements to be provided in accordance with procedure approved by the Court. Rust

  Consulting sent notice packages to 7,452 potential class members and published notice in the

  March 2012 issue of Hoard’s Dairymen. Over 7,060 settlement claims were received by the

  May 1, 2012 deadline. Significantly, only one response is titled “objection” to the Settlements,1

  although, as explained below, the “objection” provides no legitimate basis to deny final approval

  of the Settlements.

         Plaintiffs thus request the Court grant this Motion and (1) finally approve the Settlements

  with Dean and SMA/Baird, and (2) enter final order of judgment dismissing claims against Dean




  1
   Six additional requests to speak at the fairness hearing were received, but none of these requests
  constitute objections to the Settlements (as required by Paragraph 14 of the Court’s preliminary
  approval Order). (See Preliminary Approval Order, ¶ 14, Dkt No. 1782.)

                                                   1

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  and SMA/Baird.2

           I.      BACKGROUND

                   A.     The Dean and SMA/Baird Settlements

           After four years of intense litigation and over one year of pre-filing investigation,

  Plaintiffs’ counsel, on behalf of Southeast farmers, successfully negotiated settlements in the

  amount of $140,000,000 with Dean and $5,000,000 and substantial structural changes with SMA

  and Baird. Plaintiffs believe this is the largest and most substantial antitrust settlement ever

  obtained in this District.     (See, e.g., 4/2/12 Pltfs’ Mot. for Attorney Fees, Dkt. No. 1808

  (reviewing Plaintiffs’ efforts leading to Settlements).)      The basic terms of the Settlements

  follow.3

           The Settlements’ Monetary and Structural Relief. The Settlement with Dean provides

  that Dean will pay $140,000,000 into a settlement fund over approximately four years. (Ex. 2,

  Dean Settlement Agreement ¶ 7.1.)4 Dean made an initial payment of $60,000,000 into an

  escrow account after the Court entered the preliminary approval order on February 14, 2012, and

  it will then pay up to $20,000,000 each year for four years within five business days of the

  anniversary of the Court’s final approval of the settlement and entry of judgment and dismissal

  of all claims as to Dean. (Id.) These deferred payments are backed by a letter of credit. (Id.)

           The SMA/Baird Settlement provides for payment of $5,000,000 into a settlement fund,

  along with certain structural changes to the manner in which SMA is operated and managed, the

  2
      Plaintiffs attach a Proposed Order as Exhibit 1 for the Court’s consideration.
  3
      The settlement agreements were posted in full on the class action website last year.
  4
     The Dean Settlement provides that the $140,000,000 settlement amount shall be reduced by
  the pro rata milk sales of class members who timely and validly request exclusion from the class
  as of the exclusion date (May 1, 2012) and have not applied to opt back into the class. (Ex. 2,
  Dean Settlement Agreement ¶ 9.1.)


                                                     2

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  way milk is marketed in the Southeast, and how SMA interacts with Southeast dairy farmers.

  (Ex. 3, SMA/Baird Settlement Agreement ¶ 7.) This structural relief includes:

        SMA will undergo a broad annual audit of its activities conducted by an
         independent auditor, the results of which shall be made available to SMA’s Board
         of Directors and the managers of SMA’s member cooperatives. In addition, a
         summary report of the independent auditor’s annual audit will be posted on
         SMA’s website. (See id. at ¶ 7.3.)

        SMA agrees to use its best efforts to increase Class I utilization percentages in
         Federal Orders 5 and/or 7 by reducing milk supply commitments to certain
         manufacturing plants currently operating in Federal Orders 5 and/or 7. Defendant
         SMA estimates that this change alone, if achieved, may generate value to
         Southeast dairy farmers of approximately $0.10 to $0.12 per hundredweight of
         milk. (See id. at ¶ 7.4.)

        SMA and Baird will establish and maintain, for a minimum of three (3) years, a
         production incentive program for the dairy farmer members of SMA’s member
         cooperatives in Federal Orders 5 and/or 7 designed to increase prices paid to these
         farmers for the purpose of increasing their local production of milk. (See id. at ¶
         7.5.)

        SMA agrees to certain changes in the procedures for the election of its board of
         directors, the implementation of term limits for most directors, and the required
         disclosure of potential and actual conflicts of interest. (See id. at ¶ 7.6.)

        SMA will no longer handle, pool, or otherwise be involved with milk marketed by
         Dairy Marketing Services, LLC (“DMS”) for independent farmers. (See id. at ¶
         7.8.)

        SMA and Baird agree that the management agreement between SMA’s member
         cooperatives and VFC Management, LLC (Baird’s management company)—to
         the extent it relates to the management of SMA—will be terminated without cause
         and a competitive bidding process, as set forth in the Settlement Agreement, will
         be implemented for the selection of SMA’s General Manager. (See Id. at ¶ 7.6.)

        SMA and Baird agree to the establishment of a Dispute Resolution Committee
         consisting of three independent parties authorized to hear and resolve complaints
         and disputes from dairy farmer members of SMA’s member cooperatives over
         Defendants’ compliance with certain provisions of the Settlement Agreement.
         (See id. at ¶ 7.7.)

         Release. In exchange for the above consideration from Dean and SMA/Baird, Plaintiffs

  agreed for themselves and on behalf of the Independent Farmer and DFA Member Subclasses to


                                                 3

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  release and discharge Dean, SMA and Baird from any and all claims against Dean, SMA or

  Baird arising out of, or related to, the facts or circumstances alleged in Plaintiffs’ Consolidated

  Amended Complaint dated August 4, 2008. (Ex. 2, Dean Settlement Agreement ¶¶ 6.1, 6.2; Ex.

  3, SMA/Baird Settlement Agreement ¶¶ 1.17, 1.18, 1.19, 1.22, 6.1, 6.2.) The Settlements do not

  release any class member’s claim against the remaining Defendants or release the claims of class

  members who timely and validly requested exclusion from the class, unless they opt back into

  the class.   (Ex. 2, Dean Settlement Agreement ¶¶ 4.3, 9.1; Ex. 3, SMA/Baird Settlement

  Agreement ¶¶ 1.17, 1.18, 1.19, 1.22, 9.1.)

         Settlement Subclasses.     The Settlements are applicable to members of both of the

  Subclasses previously certified by the Court.       The Independent Farmer Subclass, certified

  September 7, 2010 (Dkt No. 934), includes:

         All independent dairy farmers and independent cooperative members (whether
         individuals or entities) who produced Grade A milk within Orders 5 or 7 and sold
         Grade A milk directly or through an agent to Defendants or Co-Conspirators in
         Orders 5 or 7 during any time from January 1, 2001 to the present. The terms
         “independent dairy farmer” and “independent cooperative member” refer to
         Southeast dairy farmers who were not members of DFA at the time of their Grade
         A milk sales.

  The DFA Member Subclass, initially certified on September 7 (see id.) and reinstated February

  14, 2012 (Dkt No. 1782) for purpose of settlement, includes:

         All DFA members (whether individuals or entities) who produced Grade A milk
         within Orders 5 or 7 and sold Grade A milk directly or through an agent to
         Defendants or Co-Conspirators in Orders 5 or 7 during any time from January 1,
         2001 to the present. The term “DFA member dairy farmer” refers to Southeast
         dairy farmers who were members of DFA at the time of their Grade A milk sales.

  At Defendants’ request, on January 19, 2011 the Court excluded from the Subclasses all “former

  and current officers and directors of DFA and SMA.” (Dkt No. 1255 at 14.)

                 B.     Preliminary Approval of the Settlements

         On July 12, 2011, Plaintiffs filed a motion for preliminary approval of the settlement
                                                  4

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  between Dean and the Independent Farmer and DFA Member Subclasses. (Dkt No. 1603.) The

  Court granted the motion, finding the settlement “sufficiently fair, reasonable and adequate”

  (7/14/11 Order, Dkt No. 1641).      Plaintiffs then moved, on July 27, 2011, for preliminary

  approval of the settlement between SMA/Baird and the Independent Farmer and DFA Member

  Subclasses (Dkt No. 1676), which the Court also granted after finding the settlement

  “sufficiently fair, reasonable and adequate” (Dkt No. 1681).

         The Court subsequently vacated preliminary approval of the Dean settlement and took the

  motion for approval under advisement based on the Court’s finding of an inter-class conflict

  between the Subclasses. (8/31/11 Order, Dkt No. 1735.) Thereafter, on February 14, 2012, the

  Court preliminarily approved the Settlements with the DFA Subclass (Dkt No. 1782) after the

  Court appointed Gary Brewer as interim counsel for the DFA Member Subclass (10/5/11 Order,

  Dkt No. 1752) and DFA Plaintiffs moved to reinstate that Subclass, appoint Subclass counsel

  and reinstate preliminary approval of the settlement with Dean (12/27/11 Motion, Dkt No. 1765).

                 C.     Notice of Settlements and Response by Class Members

         The Court’s February 14 Order also approved the content and manner of dissemination of

  notice of the Settlements and set dates and procedures for submission of claims, requests for

  exclusion from the Subclasses, and requests for class members who had opted out of the

  Subclasses to be reinstated for purposes of participating in the Settlements. (Dkt No. 1782.)

  Notice was thereafter provided to the Subclasses in accordance with the Court’s Order. (See

  5/8/12 Young Decl. ¶ 4.) Specifically, on February 24, 2012 Rust Consulting sent the Court-

  approved notice via U.S. Mail, postage prepaid, to 7,452 distinct names and addresses of

  potential class members identified from Defendant and third-party information (see id. ¶ 4),

  published notice in the March 2012 issue of Hoard’s Dairymen, a dairy farm trade magazine,

  (see id. ¶ 5), maintained a class notice website with documents and information pertinent to the
                                                  5

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   Settlements (see id. ¶ 7), established a toll-free telephone number (see id. ¶ 8), and acted as a

   repository for Class member inquiries and communications (see id. ¶ 9).

          The Court established May 1, 2012 as the deadline for receipt of: claims forms, requests

   to opt out of the DFA Subclass or to opt back into the Subclasses for purpose of settlement,

   objections to the Settlements. (Dkt No. 1782.) As of May 7, Rust Consulting had received 7,060

   claims5 (see id. ¶ 12), 23 requests to opt out of the DFA Subclass – some of which appear to be

   duplicates – (see id. ¶ 11), and 12 requests to opt back into the Subclasses for purpose of

   settlement (see id. ¶ 10).6 Rust previously received 364 opt out requests. (See id. ¶ 11.)

   Therefore, a total of 375 Class Members elected to opt out. Each of the 7,060 claim forms

   included the signature of the Class Member attesting the information was true under penalty of

   perjury.

          On March 23, 2012 Rust Consulting (“Rust”) conferred with counsel for Plaintiffs and

   Defendants regarding claims processing and availability of milk marketing related data. (See id.

   ¶ 17.) Following that conference, both Plaintiffs and Rust requested that Defendants provide

   their milk marketing data to Rust, and Rust expects to receive that data. (See id. ¶ 17.) Since

   that conference, Rust executed and returned a confidentiality agreement requested by Defendants

   authorizing the release of Defendants’ data to Rust. (See id. ¶ 17.) Rust has also been in

   communication with the USDA Market Administrator for Orders 5 and 7 regarding the

   availability and production of milk marketing-related data. (See id. ¶ 17.)    Also, Defendants



   5
     The numbers of claims, opt outs, and opt ins is current as of May 7, 2012. Because Rust
   continues to process the claim forms, a report will be provided prior to the Fairness Hearing on
   May 15, 2012.
   6
      The sole “objection” and six requests to appear were received by Plaintiffs through United
   States Mail or the Court’s ECF system, not through Rust Consulting.


                                                  6

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   recently agreed to a limited release of their data by the Market Administrator for use by Rust.

   (See id. ¶ 17.)     Rust will review, consider, and utilize any relevant data received from

   Defendants, the Market Administrator, or third parties consistent with industry standard

   practices.7 (See id. ¶ 17.)

          II.     THE PROPOSED SETTLEMENTS SHOULD BE GIVEN FINAL
                  APPROVAL BECAUSE THEY ARE FAIR, REASONABLE AND
                  ADEQUATE

          It is well-settled in the Sixth Circuit that courts favor and encourage settlements of

   lawsuits. Int’l Union, United Auto. Aerospace & Agric. Implement Workers of Am. v. GMC, 497

   F.3d 615, 632 (6th Cir. 2007) (“UAW”) (noting “the federal policy favoring settlement of class

   actions”); In re Telectronics Racing Sys., Inc., 137 F. Supp. 2d 985, 1008 (S.D. Ohio 2001)

   (“Being a preferred means of dispute resolution, there is a strong presumption by courts in favor

   of settlement”). “This policy applies with equal force whether the settlement is partial, involving

   only some of the defendants, or complete.” In re Packaged Ice Antitrust Litig., 2011 U.S. Dist.

   LEXIS 150427, at **42-43 (E.D. Mich. Dec. 13, 2011).

          Under Rule 23(e), a class action shall not be “dismissed or compromised with[out] the

   court’s approval.” In evaluating a settlement, the Court must ultimately determine whether the

   settlement is “fair, adequate, and reasonable.” Bailey v. Great Lakes Canning Inc., 908 F.2d 38,

   42 (6th Cir. 1990). The Sixth Circuit assesses seven factors in making this determination: [A]

   the likelihood of success on the merits weighed against the amount and form of relief in the

   settlement; [B] the complexity, expense and likely duration of the litigation; [C] the opinions of

   class counsel and class representatives; [D] the amount of discovery engaged in by the parties;


   7
      Plaintiffs will submit a proposed plan of allocation of settlement proceeds for Court approval
   after all claims have been processed and distributions to individual farmers calculated by Rust
   Consulting.


                                                   7

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   [E] the reaction of absent class members; [F] the risk of fraud or collusion; and [G] the public

   interest. See UAW, 497 F.3d at 631 (quoting Granada Invs., Inc. v. DWG Corp., 962 F.2d 1203,

   1205 (6th Cir. 1992)). Because this Court previously determined that the Settlements are “fair

   [and] reasonable” (8/31/11 Order, at 2, Dkt No. 1735; 2/14/12 Order, at 1, Dkt No. 1782), the

   Settlements are viewed as “presumptively reasonable.” Telectronics, 137 F. Supp. 2d at 1026.

   Each of the seven factors weighs in favor of final approval.

                  A.     The Likelihood of Plaintiffs’ Success on the Merits Weighed
                         Against the Amount and Form of Relief Offered in the
                         Settlements Supports Approval

          The Settlements offer Subclass members substantial and certain benefits.                The

   Settlements combined create a common fund of $145 million in cash.               In addition, the

   SMA/Baird Settlement delivers important and valuable structural relief. For instance, it is

   estimated that SMA/Baird’s commitment to reduce milk supply commitments to certain

   manufacturing plants will result in savings of $.10-.12/cwt., which, if achieved, will deliver

   Southeast farmers an estimated $11 million to $13 million each year based on the average milk

   volume (11 billion pounds) annually marketed by SMA. These are remarkable benefits for

   Subclass members. This recovery, with the monetary payment alone representing one-third of

   the total amount of damages most recently calculated by Plaintiffs’ expert (see, e.g., Supp. Rpt.

   of Rausser, 9), is well within the range of reasonableness in relation to claimed damages. See In

   re Warfarin Sodium Antitrust Litig., 212 F.R.D. 231, 258 (D. Del. 2002) (approving settlement of

   33% of maximum recovery); Lazy Oil Co. v. Witco Corp., 95 F. Supp. 2d 290, 339 (W.D. Pa.

   1997) (“[C]ourts have determined that a settlement can be approved even if the benefits amount

   to a small percentage of the recovery sought . . . . ‘[T]here is no reason . . . why a satisfactory

   settlement could not amount to a hundredth or even a thousandth part of a single percent of the

   potential recovery.’”) (quoting Detroit v. Grinnell Corp., 495 F.2d 448, 455 n.2 (2d Cir. 1974)).
                                                   8

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          In addition, the average monetary recovery to each class member is substantial. In

   addition to the value of the structural relief, the $145 million settlement fund will provide an

   estimated average payment of $13,000 per class member.8 (2/14/12 Order, at Ex. A ¶ 15, Dkt

   No. 1782-1.) Courts routinely approve significantly lower per-member recoveries. See Lonardo

   v. Travelers Indem. Co., 706 F. Supp. 2d 706, 781(N.D. Ohio 2010) (approving “meaningful

   recovery” where class members would receive “on average, in excess of $36”).

          The substantial benefits and certainty of recovery provided by the Settlements far

   outweigh the risks of continued litigation, a fact previously noted by the Court. (8/31/11 Order,

   at 2, Dkt No. 1735 (“alternative for [the DFA member subclass] is to receive nothing” and “all

   parties face enormous risk if the case is tried.”)) It is well established that class action antitrust

   litigation has “undeniable inherent risks, such as whether the class will be certified and upheld on

   appeal, whether the conspiracy as alleged in the Complaint can be established, whether Plaintiffs

   will be able to demonstrate class wide antitrust impact and ultimately whether Plaintiffs will be

   able to prove damages.” Packaged Ice, 2011 U.S. Dist. LEXIS 150427, at *56. Further,

   “[e]xperience proves that, no matter how confident trial counsel may be, they cannot predict with

   100% accuracy a jury’s favorable verdict, particularly in complex antitrust litigation.” Id. at

   *55-56.

          There is no question that continued litigation of this case would be fraught with risk.

   Although Class Counsel are confident Plaintiffs’ claims are meritorious, there is a risk of

   recovering little or nothing at trial due to the inherent uncertainties in this type of litigation. See

   In re Cardizem CD Antitrust Litig., 218 F.R.D. 508, 523 (E.D. Mich. 2003) (risk of no recovery

   supports approving settlement); Packaged Ice, 2011 U.S. Dist. LEXIS 150427, at *55-56.

   8
      As reflected in the Class notice, the average payment of $13,000 assumes the Court awards
   attorneys’ fees and expenses as requested by Counsel in their Fee Petition.
                                                     9

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          B.      The Complexity, Expense and Likely Duration of Continued Litigation Favor
                  Approval

          It is undisputed that antitrust litigation, such as this case, is complex and expensive, see

   Cardizem, 218 F.R.D. at 533 – a fact acknowledged by this Court when it noted that “[t]his is an

   incredibly complex case.” (12/8/10 Order, Dkt No. 1193; see also 1/6/09 Hearing Tr. at 13, Dkt

   No. 214 (“I don’t think in the years I practiced law I was ever involved in a case that is quite this

   complicated”); 8/17/10 Order, at 23, Dkt No. 934 (“This litigation is complex.”).) These cases

   by their nature also consume vast resources and time to litigate. Defendants have vigorously

   defended every facet of this case, and absent settlement, Defendants would undoubtedly continue

   to do so through trial, requiring Class Counsel to expend significant amounts of time and

   resources. See Lonardo, 706 F. Supp. 2d at 781 (favoring approval of settlement because “there

   is no reason to believe that either party would litigate the remainder of the case less vigorously”).

          The immediate recovery of the substantial monetary and structural relief provided by the

   Settlements far outweighs the risk and time inherent in further litigation of this complex matter.

   See Cardizem, 218 F.R.D. at 525 (finding that the benefits of the settlement “outweigh[ed] the

   possibility of obtaining a better result at trial, particularly when factoring in the additional

   expense and long delay inherent in prosecuting this complex litigation through trial and appeal);

   Telectronics, 137 F. Supp. 2d at 1013 (settlements “eliminat[e] the costs and time attendant to

   continued litigation”). Indeed, preparing and then trying this case for nearly two months, as

   scheduled, would require substantial additional efforts and expenses, including preparing for the

   examination of live witnesses, preparing video clips of depositions for taped witnesses, drafting

   and responding to trial motions, consulting with experts and preparing experts to testify,

   preparing exhibits, and maintaining a trial site and team in Greeneville. (See 5/8/12 Abrams

   Decl., ¶ 2.) In addition, this case has been pending for almost five years and the “complex


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   procedural and substantive issues would, if litigated, result in extensive trials and numerous

   appeals.” Telectronics, 137 F. Supp. 2d at 1013; Lonardo, 706 F. Supp. 2d at 781 (noting that

   rejecting the settlement could “add[] years and costs to an already aged and expensive case”).

          C.      The Recommendations of Experienced Counsel and Class Representatives
                  Strongly Favor Approval

          The judgment of experienced counsel and class representatives regarding the Settlements

   should be given significant weight. See, e.g., Kogan v. AIMCO Fox Chase, L.P., 193 F.R.D.

   496, 502 (E.D. Mich. 2000); Packaged Ice, 2011 U.S. Dist. LEXIS 150427, at *58; Leonhardt v.

   Arvinmeritor, Inc., 581 F. Supp. 2d 818, 837 (E.D. Mich. 2008). Counsel for Plaintiffs are well

   qualified with extensive experience litigating and settling antitrust actions, and the class

   representatives are experienced Southeast dairy farmers.      They collectively determined that

   settling the claims against Dean, SMA and Baird is in the best interest of Subclass members

   because the Settlements provide an immediate and substantial cash benefit to Subclass members

   along with structural relief, and avoid the inherent risks of trial and subsequent appeals. This

   endorsement of the Settlements by experienced class counsel and representatives, coupled with

   their investigation and analysis in this action, weighs heavily in favor of the Court’s approval.

   See Telectronics, 137 F. Supp. 2d at 1015 (heeding the recommendation of “extremely qualified

   and experienced” counsel); Lonardo, 706 F. Supp. 2d at 781 (accepting “enthusiastic[]

   endorse[ment]” of counsel).

                  D.     The Extensive Case Analysis by Plaintiffs Supports Final
                         Approval

          That these Settlements were reached after extensive case analysis by Plaintiffs further

   supports final approval. See Telectronics, 137 F. Supp. 2d at 1015 (factor in favor of settlement

   where “[t]he advanced stage of the proceedings and the substantial amount of concluded

   discovery in this case, means that the Parties have been able to perform a realistic assessment of

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   the factual and legal strengths and weaknesses of the claims and defenses arising from this case. .

   . ”).   Plaintiffs conducted substantial factual, legal and economic investigation in the year

   prior to the filing of the complaint.     During discovery, Plaintiffs reviewed, analyzed and

   organized over 5,000,000 pages of documents produced by Defendants, in addition to the over

   95,000 pages produced by third parties. (See Abrams Decl., ¶ 3.) Plaintiffs also took 80

   depositions of fact witnesses, and defended or otherwise attended 30 depositions taken by

   Defendants. (See id. ¶ 4.) Plaintiffs also conducted extensive expert discovery involving class

   certification (Drs. Beyer and Morrison-Paul), and merits (Drs. Scott, Rausser, Kalt, Elzinga and

   Messrs. Peterson, Ortego and Herbein). (See id. ¶ 5.) Both sides engaged in extensive motion

   practice, including discovery motions, class certification, summary judgment, and Daubert. (See

   id. ¶ 6.) As the Court recently recognized, “the parties’ claims and defenses ha[ve] been subject

   to an intense three-year long adversarial process.”      (8/31/11 Order, at 2, Dkt No. 1735.)

   Plaintiffs thus have more than sufficient information to form a well-grounded belief that the

   Settlements are fair, reasonable and adequate, and this supports final approval. See, e.g., Kogan,

   193 F.R.D. at 502; Cardizem, 218 F.R.D. at 525 (“the deference afforded counsel should

   correspond to the amount of discovery completed and the character of the evidence uncovered”)

   (internal quotations omitted).

                  E.      The Positive Reaction of the Class Supports Approval

           The high settlement participation rate and virtual absence of objections is indicative of

   the adequacy of the Settlements and further supports approval of them. See, e.g., Lonardo, 706

   F. Supp. 2d at 783; Cardizem, 218 F.R.D. at 527 (“A certain number of opt-outs and objections

   are to be expected in a class action.”); 4 Newberg & Conte, Newberg on Class Actions § 11.41

   (“If only a small number of objections are received, that fact can be viewed as indicative of the

   adequacy of the settlement.”).
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          Plaintiffs fully complied with the notice procedures set forth in the Court’s February 12,

   2012 Order. See Part I.C., supra. Notice was mailed to 7,452 potential class members, in

   addition to the published notice in Hoard’s Dairyman. (Young Decl., ¶¶ 4-5.) As of May 7,

   7,060 class members – over 90% of the potential class members – submitted claims for

   processing by Rust (Young Decl., ¶ 12), well over the usual response rate, see Packaged Ice,

   2011 U.S. Dist. LEXIS 150427, at *61-63 (approving settlement even though claim response rate

   was under 1% and collecting cases with response rates under 10%); Cardizem, 218 F.R.D. at 526

   (holding 13.8% response rate a favorable class reaction).

          More importantly, only one “objection” was submitted, which demonstrates the fairness

   of the Settlements. See Lonardo, 706 F. Supp. 2d at 783 (finding that few objectors can be

   viewed as indicative of the adequacy of the settlement); Cardizem, 218 F.R.D. at 527 (same). In

   addition, only 375 total requests for exclusion were submitted. (See Young Decl., ¶¶ 10-11.)

   This is a small exclusion rate in its own right, and an exceptionally small rate when considering

   the reasons for many of the exclusions.9 These facts weigh heavily in favor of finally approving

   the Settlement Agreements. See Cardizem, 218 F.R.D. at 527 (finding “[t]hat the overwhelming

   majority of class members have elected to remain in the Settlement Class, without objection,

   constitutes the ‘reaction of the class,’ as a whole, and demonstrates that the Settlement is ‘fair,

   reasonable, and adequate.’”).


   9
      The 375 requests for exclusion do not reflect disagreement with Plaintiffs’ allegations by 375
   class members. Rather, 67 exclusions were submitted by an attorney in Mississippi who
   represents DFA farmers bringing their own lawsuit against DFA and others. (See Abrams Decl.,
   ¶ 7.) The Mississippi lawsuit contains broader allegations than in Plaintiffs’ complaint here,
   including a RICO claim against DFA. (See id., ¶ 7.) Thus, those DFA farmers are not opting out
   because they disagree with suing DFA and others, but because they believe DFA and others
   committed fraud, as well as antitrust violations, and want to assert that additional claim. In
   addition, it is class counsel’s belief that many of the remaining farmers opted out because of
   religious beliefs.

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          F.      The Settlement Was the Product of Informed, Non-Collusive Negotiations

          “There certainly is no evidence of any collusive negotiations or that the negotiations

   process was anything other than a fair one” (8/31/11 Order, at 2, Dkt No. 1735), which supports

   approval of the Settlements. Settlement negotiations between Plaintiffs and Dean, SMA and

   Baird come after almost five years of vigorous litigation and were conducted over many months.

   See Kogan, 193 F.R.D. at 503 (“It is clear that the decision to settle was not a snap judgment on

   plaintiffs’ counsels’ part . . . it as [sic] the product of long and thorough negotiations”). The

   negotiations and ultimate Settlements included W.J. Michael Cody, the mediator in this case. It

   is clear given the intensity of the negotiations and the professional reputations of counsel and the

   mediator, that there was absolutely no collusion at the bargaining table, and that counsel for both

   sides negotiated in good faith. “Courts respect the integrity of counsel and presume the absence

   of fraud or collusion in negotiating the settlement, unless evidence to the contrary is offered.”

   Packaged Ice, 2011 U.S. Dist. LEXIS 150427, at *63 (internal quotations omitted); Telectronics,

   137 F. Supp. 2d at 1016 (“We conclude that this case has been hard-fought, no stone has been

   left unturned, and there is simply no evidence suggesting collusion or illegality.”).

                  G.      There Is a Strong Public Interest in the Settlements

          The Settlements also should be approved because there is a strong public interest in

   settling private antitrust litigation. See Cardizem, 218 F.R.D. at 530 (“there is a strong public

   interest in encouraging settlement of complex litigation”); see also Pillsbury Co. v. Conboy, 459

   U.S. 248, 262-63 (1983) (“This Court has emphasized the importance of the private action as a

   means of furthering the policy goals of certain federal regulatory statutes, including the federal

   antitrust laws.”). The public has an interest in encouraging settlement of complex litigation and

   class action suits because they are “‘notoriously difficult and unpredictable’ and settlement

   conserves judicial resources.” Cardizem, 218 F.R.D. at 530 (quoting Granada, 962 F.2d at

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   1205). The Settlements serve the public interest in that they provide a significant monetary

   award to the Class that is a substantial portion of the actual damages calculated by Dr. Rausser

   and will be distributed fairly to all class members. Settlements like these serve to curb similar

   anti-competitive behavior by others in the marketplace. Minnesota Mining & Mfg. Co. v. New

   Jersey Wood Finishing Co., 381 U.S. 311, 318-19 (1965) (noting that “private antitrust litigation

   is one of the surest weapons for effective enforcement of the antitrust laws”).

          III.    THE “OBJECTION” PROVIDES NO BASIS NOT TO GRANT FINAL
                  APPROVAL

          Only one document that might be an “objection” was filed with the Court prior to the

   May 1, 2012 deadline,10 but it provides no reason not to grant final approval. Although that

   document, submitted by Sam P. Galphin – a class member who also submitted a claim form,

   does not provide the “specific reasons” for any objection as required by the notice (Class Notice,

   ¶ 21, Dkt No. 1782-1), it does specify that he intends to:

          [P]ropose changes to the settlement which will fully inform the affected dairymen
          and take the burden of resolution out of the courts and eventually place the
          resolution of these matters back in the hands of the dairy producers. Additionally
          [he] will propose market changes that will allow dairymen to opt out of the
          present corrupt market system which has devastated the Southeastern dairy
          producer industry.

   Galphin Notice, Dkt No. 1827.      This general proposal concerning “market changes” does not

   articulate any specific disagreement with the Settlements.11 (Galphin Notice, Dkt No. 1827.)

   While Plaintiffs do not object to the appearance of Sam P. Galphin, his general statement does

   not satisfy the “heavy burden” of showing the Settlements are unreasonable. See Telectronics,

   137 F. Supp. 2d at 1027 (after a court grants preliminary approval, a “settlement is presumptively

   10
      Plaintiffs also received six notices of intent to appear at the Fairness Hearing, but they do not
   use the word “object” or otherwise indicate the reason for the request to appear.
   11
      Sam P. Galphin does not appear to object to the monetary terms of the Settlements or the
   request for attorneys’ fees, expenses, and class representative awards.
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   reasonable, and an individual who objects has a heavy burden of proving the settlement is

   unreasonable”).

          IV.    CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully request the Court grant their motion and

   enter the proposed Judgment and Final Order attached hereto as Exhibit 1.

   Dated: May 8, 2012

                                                 Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I certify that on the 8th day of May, 2012, a true and correct copy of Plaintiffs’ Motion
   for Final Approval of Settlement with Dean, SMA, and Baird was served by operation of the
   electronic filing system of the U.S. District Court for the Eastern District of Tennessee upon all
   counsel who have consented to receive notice of filings in the matters styled In re Southeastern
   Milk Antitrust Litigation, MDL No. 1899.

                                                       /s/ Robert G. Abrams
                                                           Robert G. Abrams




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